                    Case 19-50271               Doc 1        Filed 05/09/19 Entered 05/09/19 11:56:58                              Desc Main
                                                               Document     Page 1 of 28
Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                              12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Mark                                                            Laurie
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        L                                                               C
     license or passport).         Middle name                                                     Middle name
     Bring your picture
     identification to your
                                   Gagliano, Sr.                                                   Gagliano
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-8195                                                     xxx-xx-9497
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                             page 1
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                                                            Document     Page 2 of 28
Debtor 1   Mark L Gagliano, Sr.
Debtor 2   Laurie C Gagliano                                                                          Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 180 Stone Creek Drive
                                 Statesville, NC 28625
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Iredell
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
                    Case 19-50271            Doc 1          Filed 05/09/19 Entered 05/09/19 11:56:58                               Desc Main
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Debtor 1    Mark L Gagliano, Sr.
Debtor 2    Laurie C Gagliano                                                                             Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Mark L Gagliano, Sr.
Debtor 2    Laurie C Gagliano                                                                              Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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Debtor 1    Mark L Gagliano, Sr.
Debtor 2    Laurie C Gagliano                                                                          Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1    Mark L Gagliano, Sr.
Debtor 2    Laurie C Gagliano                                                                             Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Mark L Gagliano, Sr.                                          /s/ Laurie C Gagliano
                                 Mark L Gagliano, Sr.                                              Laurie C Gagliano
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     May 9, 2019                                       Executed on     May 9, 2019
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Mark L Gagliano, Sr.
Debtor 2   Laurie C Gagliano                                                                              Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ James B. Mallory III                                           Date         May 9, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                James B. Mallory III 12479
                                Printed name

                                James B. Mallory III, Attorney at Law
                                Firm name

                                PO Box 7
                                Statesville, NC 28687
                                Number, Street, City, State & ZIP Code

                                Contact phone     704-872-3753                               Email address         jmallory@jbmallorylaw.com
                                12479 NC
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
                       Case 19-50271              Doc 1          Filed 05/09/19 Entered 05/09/19 11:56:58                                     Desc Main
                                                                   Document     Page 8 of 28
 Fill in this information to identify your case:

 Debtor 1                   Mark L Gagliano, Sr.
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Laurie C Gagliano
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF NORTH CAROLINA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Ditech Financial                         Describe the property that secures the claim:               $164,838.00               $225,530.00                     $0.00
         Creditor's Name                          180 Stone Creek Drive Statesville, NC
                                                  28625 Iredell County
         Attn: Bankruptcy                         Tax Value $225,530
                                                  As of the date you file, the claim is: Check all that
         PO Box 6172                              apply.
         Rapid City, SD 57709                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

                                 Opened
                                 03/14 Last
                                 Active
 Date debt was incurred          9/03/18                   Last 4 digits of account number        2471




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
                  Case 19-50271                    Doc 1            Filed 05/09/19 Entered 05/09/19 11:56:58                              Desc Main
                                                                      Document     Page 9 of 28
 Debtor 1 Mark L Gagliano, Sr.                                                                                Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Laurie C Gagliano
               First Name                  Middle Name                      Last Name


 2.2     Global Lending Services                    Describe the property that secures the claim:                    $12,559.00         $8,775.00       $3,784.00
         Creditor's Name                            2015 Kia Optima SE 56000 miles
                                                    NADA Average trade in -$8775

         ATTN: Bankruptcy                           VIN# 5XXGM4A73FG447645
                                                    As of the date you file, the claim is: Check all that
         PO Box 10437                               apply.
         Greenville, SC 29603                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         1209

 2.3     Harley Davidson Financial                  Describe the property that secures the claim:                      $6,568.00       $13,800.00             $0.00
         Creditor's Name                            2015 Harley Davidson Electra Glide
                                                    27000 miles
                                                    VIN # 1HD1KEL11FB650371

         Attn: Bankruptcy                           Property tax value - $13,800
                                                    As of the date you file, the claim is: Check all that
         PO Box 22048                               apply.
         Carson City, NV 89721                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
 Date debt was incurred          03/15                       Last 4 digits of account number         4190




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
                  Case 19-50271                    Doc 1            Filed 05/09/19 Entered 05/09/19 11:56:58                                 Desc Main
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 Debtor 1 Mark L Gagliano, Sr.                                                                                Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Laurie C Gagliano
               First Name                  Middle Name                      Last Name


 2.4     Suntrust Bank                              Describe the property that secures the claim:                    $12,559.00           $19,095.00             $0.00
         Creditor's Name                            2015 Nissan Titan 45000 miles
                                                    NADA Avg Trade-In Value $20,775 -
                                                    front end damage repair estimate of
                                                    $1,680 = 19,095
         Attn: Bankruptcy
         1001 Semmes Ave                            VIN # 1N6BA0ECXFN509319
                                                    As of the date you file, the claim is: Check all that
         Va-Rvw-6290                                apply.
         Richmond, VA 23224                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
                                 12/15 Last
 Date debt was incurred          Active 09/18                Last 4 digits of account number         2590



   Add the dollar value of your entries in Column A on this page. Write that number here:                                   $196,524.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                  $196,524.00

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                     Mark L Gagliano, Sr.
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Laurie C Gagliano
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                WESTERN DISTRICT OF NORTH CAROLINA

 Case number
 (if known)                                                                                                                                              Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority           Nonpriority
                                                                                                                                              amount             amount
              Internal Revenue Service
 2.1          (correspondence                                        Last 4 digits of account number                                  $0.00              $0.00                 $0.00
              Priority Creditor's Name
              320 Federal Pl Rm 335                                  When was the debt incurred?
              Greensboro, NC 27401
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Notice Only




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 1 of 15
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 Debtor 1 Mark L Gagliano, Sr.
 Debtor 2 Laurie C Gagliano                                                                                Case number (if known)

 2.2        Iredell County Tax Collector                             Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            P O Box 1027                                             When was the debt incurred?
            Statesville, NC 28687
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          Notice Only

 2.3        NC Dept of Revenue                                       Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            Office Serv Div/Bankrupty Unit                           When was the debt incurred?
            PO Box 1168
            Raleigh, NC 27602-1168
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          Notice Only

 2.4        US Attorney's Office                                     Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            100 Otis St, Room 233                                    When was the debt incurred?
            Asheville, NC 28801
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          Notice Only

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.


Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 2 of 15
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 Debtor 1 Mark L Gagliano, Sr.
 Debtor 2 Laurie C Gagliano                                                                              Case number (if known)

                                                                                                                                                        Total claim

 4.1      American Express                                           Last 4 digits of account number       1008                                                   $2,247.14
          Nonpriority Creditor's Name
          PO Box 1270                                                When was the debt incurred?           Unknown
          Newark, NJ 07101-1270
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.2      Amex                                                       Last 4 digits of account number       0123                                                   $6,830.00
          Nonpriority Creditor's Name
          Correspondence/Bankruptcy                                                                        Opened 06/85 Last Active
          PO Box 981540                                              When was the debt incurred?           3/14/18
          El Paso, TX 79998
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card/Judgment 18 CVD 1958


 4.3      Amex                                                       Last 4 digits of account number       6803                                                   $2,329.00
          Nonpriority Creditor's Name
          Correspondence/Bankruptcy                                                                        Opened 11/07 Last Active
          PO Box 981540                                              When was the debt incurred?           10/15/18
          El Paso, TX 79998
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 3 of 15
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 Debtor 2 Laurie C Gagliano                                                                              Case number (if known)

 4.4      Capital One                                                Last 4 digits of account number       3129                                             $5,341.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 03/00 Last Active 01/18
          PO Box 30285
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.5      Capital One                                                Last 4 digits of account number       7152                                               $727.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 06/16 Last Active 09/18
          PO Box 30285
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


                                                                                                           1887,0937,io
 4.6      Carolina Medical Center                                    Last 4 digits of account number       us                                               $3,510.00
          Nonpriority Creditor's Name
          PO Box 96072                                               When was the debt incurred?           Unknown
          Charlotte, NC 28296-0072
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 15
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 Debtor 1 Mark L Gagliano, Sr.
 Debtor 2 Laurie C Gagliano                                                                              Case number (if known)

 4.7      Charlotte Radiology                                        Last 4 digits of account number       7245                                             $1,100.00
          Nonpriority Creditor's Name
          P O Box 30488                                              When was the debt incurred?           Unknown
          Charlotte, NC 28230
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical


 4.8      Chase Card Services                                        Last 4 digits of account number       5051                                             $5,992.00
          Nonpriority Creditor's Name
          Correspondence Dept                                        When was the debt incurred?           Opened 02/06 Last Active 02/18
          PO Box 15298
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.9      Citibank, NA (Sears Gold Mastercard)                       Last 4 digits of account number       7876                                             $5,673.58
          Nonpriority Creditor's Name
          PO Box 78051                                               When was the debt incurred?           Unknown
          Phoenix, AZ 85062-8051
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card/Complaint 19 CVD 546




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 Debtor 1 Mark L Gagliano, Sr.
 Debtor 2 Laurie C Gagliano                                                                              Case number (if known)

 4.1
 0        Citibank/Best Buy                                          Last 4 digits of account number       1710                                                 $88.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 07/15 Last Active
          PO Box 790441                                              When was the debt incurred?           10/01/18
          St. Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.1
 1        Citibank/The Home Depot                                    Last 4 digits of account number       3930                                             $5,497.00
          Nonpriority Creditor's Name
          Attn: Recovery/Centralized Bankruptcy                      When was the debt incurred?           Opened 12/06 Last Active 07/18
          PO Box 790034
          St Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.1
 2        Comenity Bank/Overstock                                    Last 4 digits of account number       4023                                               $314.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                      When was the debt incurred?           Opened 02/17 Last Active 10/18
          PO Box 182125
          Columbus, OH 43218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




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 Debtor 2 Laurie C Gagliano                                                                              Case number (if known)

 4.1
 3        Comenitybank/Venus                                         Last 4 digits of account number       6418                                               $224.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                      When was the debt incurred?           Opened 04/16 Last Active 09/18
          PO Box 182125
          Columbus, OH 43218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.1
 4        Comenitycapital/Big Lots                                   Last 4 digits of account number       3777                                               $530.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                      When was the debt incurred?           Opened 12/17 Last Active 09/18
          PO Box 182125
          Columbus, OH 43218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credot cvard


 4.1
 5        Credit One Bank                                            Last 4 digits of account number       1015                                             $2,685.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 09/12 Last Active 05/18
          PO Box 98873
          Las Vegas, NV 89193
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




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 Debtor 2 Laurie C Gagliano                                                                              Case number (if known)

 4.1
 6        Dept of Ed / 582 / Nelnet                                  Last 4 digits of account number       3899                                               $147.00
          Nonpriority Creditor's Name
          Attn: Claims                                                                                     Opened 08/08 Last Active
          PO Box 82505                                               When was the debt incurred?           9/14/18
          Lincoln, NE 68501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.1
 7        Fingerhut                                                  Last 4 digits of account number       3988                                               $714.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 12/16 Last Active
          PO Box 1250                                                When was the debt incurred?           9/23/18
          Saint Cloud, MN 56395
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.1
 8        Home Depot Credit Services                                 Last 4 digits of account number       3930                                             $5,339.36
          Nonpriority Creditor's Name
          P O Box 9001010                                            When was the debt incurred?           unknown
          Louisville, KY 40290
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card




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 Debtor 2 Laurie C Gagliano                                                                              Case number (if known)

 4.1
 9        Iredell County EMS                                         Last 4 digits of account number       8849                                               $280.00
          Nonpriority Creditor's Name
          PO Box 863                                                 When was the debt incurred?           Unknown
          Lewisville, NC 27023-0863
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical


 4.2
 0        Iredell Memorial Hospital                                  Last 4 digits of account number       5478                                               $150.00
          Nonpriority Creditor's Name
          PO Box 6029                                                When was the debt incurred?           Unknown
          Statesville, NC 28687
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical


 4.2
 1        Iredell Memorial Hospital                                  Last 4 digits of account number       8242                                             $1,465.00
          Nonpriority Creditor's Name
          PO Box 6029                                                When was the debt incurred?           Unknown
          Statesville, NC 28687
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical




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 Debtor 1 Mark L Gagliano, Sr.
 Debtor 2 Laurie C Gagliano                                                                              Case number (if known)

 4.2
 2        Keybank NA                                                 Last 4 digits of account number       5370                                           $13,713.00
          Nonpriority Creditor's Name
          Key Bank; Attention: Recovery                                                                    Opened 08/07 Last Active
          Payment Pr                                                 When was the debt incurred?           12/12/17
          4910 Tiedeman Road (Routing Code:
          08-01-
          Brooklyn, OH 44144
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Repo deficiency for 1998 Winnebago VIN 3
              Yes                                                       Other. Specify   3FCNF53S9XJA06564


 4.2
 3        Kia Motors Finance                                         Last 4 digits of account number       6109                                               $722.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 02/15 Last Active
          PO Box 20825                                               When was the debt incurred?           8/23/18
          Fountain Valley, CA 92728
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 4        OneMain Financial                                          Last 4 digits of account number       2933                                             $7,129.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 05/18 Last Active 10/18
          601 Nw 2nd Street
          Evansville, IN 47708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Unsecured


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 Debtor 1 Mark L Gagliano, Sr.
 Debtor 2 Laurie C Gagliano                                                                              Case number (if known)


 4.2
 5        Piedmont Healthcare                                        Last 4 digits of account number       8054                                             $2,574.11
          Nonpriority Creditor's Name
          P O Box 63020                                              When was the debt incurred?           Unknown
          Charlotte, NC 28263
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical


 4.2
 6        Princeparker                                               Last 4 digits of account number       4482                                             $1,147.00
          Nonpriority Creditor's Name
          625 Crown Crescent Ct                                      When was the debt incurred?           1/2019
          Charlotte, NC 28227
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical (misc accts)


 4.2
 7        Shell Small Business Card                                  Last 4 digits of account number       5821                                             $1,225.22
          Nonpriority Creditor's Name
          PO Box 6406                                                When was the debt incurred?           Unknown
          Sioux Falls, SD 57117-6406
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




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 Debtor 1 Mark L Gagliano, Sr.
 Debtor 2 Laurie C Gagliano                                                                              Case number (if known)

 4.2
 8        State Farm Financial S                                     Last 4 digits of account number       4049                                             $1,538.00
          Nonpriority Creditor's Name
          1 State Farm Plaza                                         When was the debt incurred?           Opened 11/06 Last Active 09/18
          Bloomington, IL 61710
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.2
 9        Syncb/hhgreg                                               Last 4 digits of account number       9533                                             $1,220.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 11/15 Last Active 10/18
          PO Box 965060
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.3
 0        Syncb/PLCC                                                 Last 4 digits of account number       5242                                               $642.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 03/87 Last Active 08/18
          PO Box 965060
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




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 Debtor 2 Laurie C Gagliano                                                                              Case number (if known)

 4.3
 1         Synchrony Bank/Gap                                        Last 4 digits of account number       8152                                                 $93.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy Dept                                                                           Opened 05/17 Last Active
           PO Box 965060                                             When was the debt incurred?           10/14/18
           Orlando, FL 32896
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.3
 2         Wells Fargo Bank                                          Last 4 digits of account number       2787                                             $5,783.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy Dept                                                                           Opened 02/16 Last Active
           PO Box 6429                                               When was the debt incurred?           9/13/18
           Greenville, SC 29606
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.3
 3         Wells Fargo Bank Ia N                                     Last 4 digits of account number       8446                                             $3,684.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy Dept                                                                           Opened 5/09/90 Last Active
           PO Box 6429                                               When was the debt incurred?           09/18
           Greenville, SC 29606
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Check Credit Or Line Of Credit

 Part 3:      List Others to Be Notified About a Debt That You Already Listed



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 Debtor 2 Laurie C Gagliano                                                                              Case number (if known)

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Alltran Financial, LP                                         Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 722910                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Houston, TX 77272
                                                               Last 4 digits of account number                  ious

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ARS National Services, Inc                                    Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P O Box 463023                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Escondido, CA 92046
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bernhardt and Strawser                                        Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 5821 Fairview Rd #100                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Charlotte, NC 28209
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Client Services Inc                                           Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 3451 Harry S Truman Blvd                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Charles, MO 63301
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Client Services, Inc.                                         Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 1503                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Peters, MO 63376
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Medicredit, Inc                                               Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P O Box 1629                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Maryland Heights, MO 63043
                                                               Last 4 digits of account number                  2323

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Prince-Parker & Associates                                    Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P O Box 474690                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Charlotte, NC 28247
                                                               Last 4 digits of account number                  8054

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Professional Recovery Consultants                             Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2700 Meridian Pkwy #200                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Durham, NC 27713
                                                               Last 4 digits of account number                  9644

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Second Round LP                                               Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 41955                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Austin, TX 78704
                                                               Last 4 digits of account number                  Comenity Bank/Big Lots

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Stern & Associates, PA                                        Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 14899                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Greensboro, NC 27415
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 United Collection Bureau, Inc.                                Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 1418                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Maumee, OH 43537

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 Debtor 2 Laurie C Gagliano                                                                              Case number (if known)

                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Zwicker & Associates                                          Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 ATTN: Lynn H. Quick                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 481918
 Charlotte, NC 28269
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                        147.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                    90,506.41

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                    90,653.41




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                                                               United States Bankruptcy Court
                                                                 Western District of North Carolina
            Mark L Gagliano, Sr.
 In re      Laurie C Gagliano                                                                         Case No.
                                                                                  Debtor(s)           Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: May 9, 2019                                                     /s/ Mark L Gagliano, Sr.
                                                                       Mark L Gagliano, Sr.
                                                                       Signature of Debtor

 Date: May 9, 2019                                                     /s/ Laurie C Gagliano
                                                                       Laurie C Gagliano
                                                                       Signature of Debtor




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Mark L Gagliano, Sr.                     Charlotte Radiology                     Comenitycapital/Big Lots
180 Stone Creek Drive                    P O Box 30488                           Attn: Bankruptcy Dept
Statesville, NC 28625                    Charlotte, NC 28230                     PO Box 182125
                                                                                 Columbus, OH 43218



James B. Mallory III                     Chase Card Services                     Credit One Bank
James B. Mallory III, Attorney at Law    Correspondence Dept                     Attn: Bankruptcy
PO Box 7                                 PO Box 15298                            PO Box 98873
Statesville, NC 28687                    Wilmington, DE 19850                    Las Vegas, NV 89193



Alltran Financial, LP                    Citibank, NA (Sears Gold Mastercard)    Dept of Ed / 582 / Nelnet
PO Box 722910                            PO Box 78051                            Attn: Claims
Houston, TX 77272                        Phoenix, AZ 85062-8051                  PO Box 82505
                                                                                 Lincoln, NE 68501



American Express                         Citibank/Best Buy                       Ditech Financial
PO Box 1270                              Attn: Bankruptcy                        Attn: Bankruptcy
Newark, NJ 07101-1270                    PO Box 790441                           PO Box 6172
                                         St. Louis, MO 63179                     Rapid City, SD 57709



Amex                                     Citibank/The Home Depot                 Fingerhut
Correspondence/Bankruptcy                Attn: Recovery/Centralized Bankruptcy   Attn: Bankruptcy
PO Box 981540                            PO Box 790034                           PO Box 1250
El Paso, TX 79998                        St Louis, MO 63179                      Saint Cloud, MN 56395



ARS National Services, Inc               Client Services Inc                     Global Lending Services
P O Box 463023                           3451 Harry S Truman Blvd                ATTN: Bankruptcy
Escondido, CA 92046                      Saint Charles, MO 63301                 PO Box 10437
                                                                                 Greenville, SC 29603



Bernhardt and Strawser                   Client Services, Inc.                   Harley Davidson Financial
5821 Fairview Rd #100                    PO Box 1503                             Attn: Bankruptcy
Charlotte, NC 28209                      Saint Peters, MO 63376                  PO Box 22048
                                                                                 Carson City, NV 89721



Capital One                              Comenity Bank/Overstock                 Home Depot Credit Services
Attn: Bankruptcy                         Attn: Bankruptcy Dept                   P O Box 9001010
PO Box 30285                             PO Box 182125                           Louisville, KY 40290
Salt Lake City, UT 84130                 Columbus, OH 43218



Carolina Medical Center                  Comenitybank/Venus                      Internal Revenue Service (corresponde
PO Box 96072                             Attn: Bankruptcy Dept                   320 Federal Pl Rm 335
Charlotte, NC 28296-0072                 PO Box 182125                           Greensboro, NC 27401
                                         Columbus, OH 43218
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Iredell County EMS                        Prince-Parker & Associates          Syncb/PLCC
PO Box 863                                P O Box 474690                      Attn: Bankruptcy
Lewisville, NC 27023-0863                 Charlotte, NC 28247                 PO Box 965060
                                                                              Orlando, FL 32896



Iredell County Tax Collector              Princeparker                        Synchrony Bank/Gap
P O Box 1027                              625 Crown Crescent Ct               Attn: Bankruptcy Dept
Statesville, NC 28687                     Charlotte, NC 28227                 PO Box 965060
                                                                              Orlando, FL 32896



Iredell Memorial Hospital                 Professional Recovery Consultants   United Collection Bureau, Inc.
PO Box 6029                               2700 Meridian Pkwy #200             PO Box 1418
Statesville, NC 28687                     Durham, NC 27713                    Maumee, OH 43537




Keybank NA                               Second Round LP                      US Attorney's Office
Key Bank; Attention: Recovery Payment Pr PO Box 41955                         100 Otis St, Room 233
4910 Tiedeman Road (Routing Code: 08-01- Austin, TX 78704                     Asheville, NC 28801
Brooklyn, OH 44144



Kia Motors Finance                        Shell Small Business Card           Wells Fargo Bank
Attn: Bankruptcy                          PO Box 6406                         Attn: Bankruptcy Dept
PO Box 20825                              Sioux Falls, SD 57117-6406          PO Box 6429
Fountain Valley, CA 92728                                                     Greenville, SC 29606



Medicredit, Inc                           State Farm Financial S              Wells Fargo Bank Ia N
P O Box 1629                              1 State Farm Plaza                  Attn: Bankruptcy Dept
Maryland Heights, MO 63043                Bloomington, IL 61710               PO Box 6429
                                                                              Greenville, SC 29606



NC Dept of Revenue                        Stern & Associates, PA              Zwicker & Associates
Office Serv Div/Bankrupty Unit            PO Box 14899                        ATTN: Lynn H. Quick
PO Box 1168                               Greensboro, NC 27415                PO Box 481918
Raleigh, NC 27602-1168                                                        Charlotte, NC 28269



OneMain Financial                         Suntrust Bank
Attn: Bankruptcy                          Attn: Bankruptcy
601 Nw 2nd Street                         1001 Semmes Ave Va-Rvw-6290
Evansville, IN 47708                      Richmond, VA 23224



Piedmont Healthcare                       Syncb/hhgreg
P O Box 63020                             Attn: Bankruptcy
Charlotte, NC 28263                       PO Box 965060
                                          Orlando, FL 32896
